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   14
                                 UNITED STATES DISTRICT COURT
   15
   16                          CENTRAL DISTRICT OF CALIFORNIA

   17   IN RE: NATIONAL FOOTBALL                        Case No. 2:15-ml-02668-PSG (JEMx)
        LEAGUE SUNDAY TICKET
   18   ANTITRUST LITIGATION                            JOINT STIPULATION FOR
                                                        ENTRY OF ORDER
   19   THIS DOCUMENT RELATES TO                        REGARDING DISCLOSURE OF
        ALL ACTIONS                                     DESIGNATED PRIVILEGED
   20                                                   DOCUMENTS FROM
                                                        DIRECTV’S PRIVILEGE LOG
   21                                                   PURSUANT TO F.R.E. 502(d)
   22                                                   [FILED CONCURRENTLY
                                                        WITH PROPOSED
   23                                                   STIPULATED ORDER]
   24                                                   JUDGE: Hon. John E. McDermott
   25                                                   DATE:
                                                        TIME:
   26                                                   COURTROOM: First Street
                                                        Courthouse 350 West 1st Street
   27                                                   Courtroom 6A
                                                        Los Angeles, CA 90012
   28


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    1          Non-Party DIRECTV, LLC and DIRECTV Holdings LLC (collectively,
    2   “DIRECTV”) and Plaintiffs, by and through their respective counsel of record, subject
    3   to this Court’s approval, agree and stipulate as follows concerning the disclosure of
    4   designated privileged information from DIRECTV’s Privilege Log under Federal Rule
    5   of Evidence 502(d). Through this stipulation, Plaintiffs and DIRECTV seek entry of
    6   the concurrently-submitted [Proposed] Stipulated Order Regarding the Production of
    7   Privileged Documents From DIRECTV’s Privilege Log Under F.R.E. 502(d).
    8          WHEREAS, in the course of discovery Plaintiffs have requested from Non-
    9   Party DIRECTV certain documents and communications from DIRECTV’s Privilege
   10   Log which DIRECTV has grounds to assert are subject to the attorney-client privilege
   11   and/or the work product protection (collectively, “privilege and protection”);
   12          WHEREAS, these documents are hard copy materials and come from the files
   13   of former attorneys for DIRECTV;
   14          WHEREAS, the exchange of such documents and communications is likely to
   15   promote efficiency in the litigation of this matter by reducing the time, expense and
   16   other burdens of discovery; and avoiding the filing of additional discovery and other
   17   pretrial motions;
   18          WHEREAS, absent an order from the Court, under certain circumstances, the
   19   production of privileged or protected documents can operate as a waiver of any
   20   applicable privilege, protection, and/or immunity with respect to disclosure in this case
   21   and other federal or state proceedings;
   22          WHEREAS, Rule 502(a) of the Federal Rules of Evidence provides in relevant
   23   part that:
   24          When the disclosure is made in a federal proceeding . . . and waives the
   25   attorney-client privilege or work-product protection, the waiver extends to an
   26   undisclosed communication or information in a federal or state proceeding only if:
   27          (1)   The waiver is intentional;
   28          (2)   The disclosed and undisclosed communications or information concern
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    1   the same subject matter; and
    2         (3)     They ought in fairness to be considered together.
    3         WHEREAS, pursuant to Rule 502(e) of the Federal Rules of Evidence, an
    4   “agreement on the effect of disclosure in a federal proceeding is binding only on the
    5   parties to the agreement, unless it is incorporated into a court order”;
    6         WHEREAS, pursuant to Rule 502(d) of the Federal Rules of Evidence, a
    7   “federal court may order that the privilege or protection is not waived by disclosure
    8   connected with the litigation pending before the court – in which event the disclosure
    9   is also not a waiver in any other federal or state proceeding”;
   10         WHEREAS, DIRECTV is willing to produce certain designated documents and
   11   communications from its Privilege Log and produce them in discovery, but only if
   12   they can be certain that such production will not operate as a waiver under Rule 502(a)
   13   or any other legal principle of the privilege and protection that may be applicable to
   14   other documents and communications involving the same or related subject matters;
   15          WHEREAS, by agreeing to this Stipulation and production of certain
   16   documents, Plaintiffs agree to withdraw its challenges to the privilege log entries
   17   contained in Exhibit A, absent good cause;
   18          THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by the
   19   parties to this Stipulation, through their respective counsel of record, hereby request
   20   that the Court enter the [Proposed] Stipulated Order Regarding the Production of
   21   Privileged Documents From DIRECTV’s Privilege Log Under F.R.E. 502(d),
   22   submitted concurrently with this Stipulation as follows:
   23          1.     This Order shall apply to and govern all designated documents,
   24   communications, and information produced pursuant to this Order (collectively,
   25   “Designated Information”). Designated Information shall include documents and
   26   communications as to which DIRECTV claims the attorney-client privilege and/or
   27   work product protection, but as to which DIRECTV agrees to produce to Plaintiffs to
   28   promote efficiency in the litigation of this matter,
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    1         2.       DIRECTV shall label each page of the Designated Information produced
    2   pursuant to this Order with the following legend:
    3                PRIVILEGED — PRODUCED PURSUANT TO STIPULATED
    4                              ORDER UNDER F.R.E. 502(d)
    5         3.       DIRECTV’s disclosure or production of any Designated Information in
    6   this proceeding shall not, for the purposes of this proceeding or any other proceeding,
    7   constitute a waiver by DIRECTV of any privilege or protection, including the
    8   attorney-client privilege, work product protection, and any other privilege or
    9   protection recognized by law, applicable to: (a) the Designated Information; (b) any
   10   other documents, communications, or information relating to the subject matter of the
   11   Designated Information; or (c) any other documents, communications, or information
   12   relating to the parties who sent or received or are named in the Designated
   13   Information.
   14         4.       Nothing herein shall constitute or be construed as a waiver of any
   15   objection(s) to discovery or disclosure pursuant to, inter alia and without limitation,
   16   the Federal Rules of Civil Procedure, the Federal Rules of Evidence, and any other
   17   court rule or other federal or state statute, rule, or regulation. Moreover, nothing
   18   herein shall prevent DIRECTV from invoking any privilege or protection over any
   19   document, information, or communication.
   20         5.       Designated Information that DIRECTV agrees produce to Plaintiffs shall
   21   continue to be treated as “Highly Confidential” under the Stipulated Protective Order
   22   [Dkt. #197] entered in this case on October 04, 2016.
   23         6.       This Order shall be interpreted to provide the maximum protection
   24   allowed by Federal Rule of Evidence 502(d).
   25         7.       The provisions of Federal Rule of Evidence 502(b) are inapplicable to the
   26   production of documents or information under this Order.
   27         The Parties respectfully request that the Court render an order in the form
   28   submitted.
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    1                            SIGNATURE CERTIFICATION
    2         Pursuant to L.R. 5-4.3.4(a)(2)(i), I hereby attest that all other signatories
    3   listed, and on whose behalf the filing is submitted, concur in the filing’s content and
    4   have authorized this filing.
    5   Dated: February 21, 2023                    By: /s/ Jeffrey A. N. Kopczynski
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